      Case 6:17-cr-06089-DGL-JWF Document 57 Filed 06/28/18 Page 1 of 4




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA,
                                                                  17-CR-6089-DGL
              -V-



JEB TYLER,

                      Defendant.




                      PRELIMINARY ORDER OF FORFEITURE



       WHEREAS,on June 20,2018, the defendant, JEB TYLER,pled guilty to a two-count

Superseding Information(docket no. 17-CR-6089)that charged him with a violation of Title

18, United States Code,Section 1349(conspiracy to commit wire fraud), and. Title 26,United

States Code, Section 7206(1)(filing a false tax return), and,



       WHEREAS,from the defendant's conviction on Count 1, and from his admission in

the written plea agreement that certain property is subject to forfeiture, the government has

established the requisite nexus between the property and the offense committed by the

defendant and therefore the following property is subject to forfeiture:


              $477,331.89 in lieu of4385 County Road 16, Canandaigua, New York,
              that is all that tract or parcel of land situated in the town of
              Canandaigua, county of Ontario, and state of New York, and more
              particularly described in a certain deed recorded in the Ontario County
              Clerk's Office in Liber ofDeeds 01270 at Page 0751.


       NOW THEREFORE, pursuant to Federal Rule of Criminal Procedure 32.2(b)(2),

Title 18, United States Code, Section 981(a)(1)(C), Title 28, United States Code, Section
       Case 6:17-cr-06089-DGL-JWF Document 57 Filed 06/28/18 Page 2 of 4



2461(c), and the incorporated procedures of Title 21, United States Code, Section 853, it is

hereby;



        ORDERED,ADJUDGED,and DECREED that pursuant to Title 21, United States

Code, Section 853(c) and (e) through (p), as incorporated by Title 18, United States Code,

Section 982(b), the above listed property and/or any interest therein is hereby condemned

and forfeited to the United States of America and shall be disposed of according to law; and

it is further




        ORDERED,ADJUDGED,and DECREED that this Order shall serve as a judgment

in favor ofthe United States of America regarding any and all of the Defendant's right, title,

and interest in the above described property. The property is hereby condemned and forfeited

to the United States of America and shall be disposed of according to law, and the United

States of America shall seize the aforementioned property, and shall protect the interests of

the Government in the property ordered forfeited by providing a copy of this Order to any

person or entity which has possession of, or jurisdiction over the forfeited interests, and by

taking all steps necessary and appropriate to protect the interests of the United States of

America, including the taking ofactual possession ofthe property; and it is further



        ORDERED, ADJUDGED and DECREED that pursuant to Title 21, United States

Code, Section 853(h), following the seizure of the property ordered forfeited, the Attorney

General shall direct the disposition ofthe property, making due provision for the rights ofany

innocent persons; and it is further
       Case 6:17-cr-06089-DGL-JWF Document 57 Filed 06/28/18 Page 3 of 4




       ORDERED,ADJUDGED,and DECREED that pursuant to Title 21, United States

Code, Section 853(n)(l), the United States shall publish notice of this Order and of its intent

to dispose of the property in such manner as the Attorney General may direct, and provide

notice that any person, other than the defendant, having or claiming a legal interest in the

above forfeited property must file a petition with the court within thirty(30)days ofthe final

publication ofnotice, or ofreceipt ofactual notice, whichever is earlier.



       This notice shall state that the petition shall be for request of a hearing to adjudicate

the validity ofthe petitioner's alleged interest in the property, shall be signed by the petitioner

under penalty ofpeijury, and shall set forth the nature and extent ofthe petitioner's right, title

or interest in each of the forfeited properties, and any additional facts supporting the

petitioner's claim and the relief sought.



       The United States may also, to the extent practicable, provide direct written notice to

any person known to have alleged an interest in any of the property that is the subject of the

Order of Forfeiture, as a substitute for published notice as to those persons so notified, and it

is further,


       ORDERED,ADJUDGED,AND DECREED,that in the event that a Final Order of

Forfeiture is issued concerning the subject property, the United States Marshals Service shall

dispose ofthe forfeited property according to law. The United States Marshals Service shall

be reimbursed for all costs incurred arising from the seizure and custody ofsaid property. All
      Case 6:17-cr-06089-DGL-JWF Document 57 Filed 06/28/18 Page 4 of 4




remaining funds shall be deposited with the United States Department of Justice Asset

Forfeiture Fund; and it is further,


       ORDERED, ADJUDGED, AND DECREED, that upon adjudication of all third-

party interests, this Court will enter a Final Order of Forfeiture pursuant to Tide 18, United

States Code, Section 981(a)(1)(C), and Tide 28, United States Code, Section 2461(c).


Dated: Rochester, New York, June          I. 2018.



                                           HONORABLE DAVID G.LARIMER
                                           United States District Court Judge
